                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

    MANUEL OLIVERA-PAGAN, et al.,

         Plaintiffs,

                  v.                             Civil No. 14-1553 (FAB)

    MANATI MEDICAL CENTER, INC., et
    al.,

         Defendants.


                          MEMORANDUM AND ORDER1

BESOSA, District Judge.

        Before the Court is defendants’ motion to alter the amended

judgment,     (Docket   No.     23),   which     plaintiffs   oppose,   (Docket

No. 24).     For the reasons discussed below, the motion is GRANTED.

The amended judgment, (Docket No. 22), is modified, and the case

against Dr. Hernan Fuentes-Figueroa is DISMISSED WITH PREJUDICE.

                                     BACKGROUND

        On April 14, 2014, plaintiffs Manuel Olivera-Pagan and Daisy

de     Jesus-Miranda    filed    a     medical    malpractice    suit   against

Dr. Hernan Fuentes-Figueroa (“Dr. Fuentes”), Manati Medical Center

(“MMC”), and     Ciales   Primary       Health    Care   Services   (“CHC”)2   in

Arecibo Superior Court.         See Docket No. 1-1.        Plaintiffs claimed

that defendants were negligent in treating Ms. Miranda during the


1
  Rachel L. Hampton, a second-year student at the University of Michigan
Law School, assisted in the preparation of this Memorandum and Order.
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   CHC is now known as “Prymed Medical Care, Inc.”            (Docket No. 27 at
pp. 2-3.)
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delivery of her infant son in April 2010.       See Docket No. 12-1 at

pp. 1-3.     Plaintiffs allege that though Ms. Miranda received

prenatal care from Dr. Fuentes at CHC, the birth took place at MMC.

Id. at p. 2.

     Defendant CHC is a federally-funded health center pursuant to

the Federally Supported Health Care Centers Assistance Act, 42

U.S.C. §§ 233(g)-(n) (“FSHCAA”), and has been deemed a federal

employee of the Public Health Service since January 1, 2009.

(Docket No. 12-1 at p. 3.)3         Dr. Fuentes worked at CHC from

April 18, 2006 to September 30, 2010, and was likewise deemed a

federal employee during his tenure.      Id.   The Federal Tort Claims

Act, 28 U.S.C. §§ 2671 et seq. (“FTCA”), thus governs the claims

against CHC and Dr. Fuentes during the events in question.           See

id.; Docket No. 27 at p. 3.

     On July 11, 2014, at the request of defendants CHC and

Dr. Fuentes, the case was removed to this Court.        (Docket No. 1.)



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   Pursuant to the FSHCAA, certain private “health centers” that serve
underserved populations and that request and receive federal grant money
pursuant to section 330 of the Public Health Act, 42 U.S .C. § 254b, may
apply to the Department of Health and Human Services (“HHS”) to be
“deemed”•an employee of the Public Health Service by the Secretary of
HHS. 42 U.S.C. § 233(g)(1)(D). “Once a health center is deemed to be
a federal employee, ‘the health center need not purchase and maintain
malpractice insurance for itself or its physicians’ because in effect,
the United States through the FTCA, ‘exposes itself to lawsuits, in place
of a health center.’”     Lacey-Echols ex rel. Lacey v. Murphy, Civ.
No. 02-2281 (WGB), 2003 WL 23571269, at *4 (D.N.J. Dec. 17, 2003)
(quoting Miller v. Toatley, M.D., 137 F. Supp. 2d 724, 725 (W.D. La.
2000)). “The purpose of this is to allow deemed health centers to reduce
their costs so that more funds are available for direct service to
underserved populations.” Id.
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On September 10, 2014, the United States Attorney for the District

of Puerto Rico moved to substitute the United States as the

defendant, certified that Dr. Fuentes was acting “within the scope

of his employment” as an employee of CHC at the time of the conduct

alleged in the complaint, and moved to dismiss pursuant to Federal

Rules of Civil Procedure 12(b)(1), 12(b)(2), and (12)(b)(6) for

lack of subject matter jurisdiction and for failure to exhaust the

administrative remedies that are required by the FTCA.          (Docket

No. 12.)

     On    November   21,   2014,   plaintiffs   moved   for   voluntary

dismissal, (Docket No. 16), which the Court granted, (Docket

No. 18).    The Court dismissed with prejudice all claims against

Dr. Fuentes and CHC and dismissed without prejudice the claims

against MMC. (Docket No. 18.) Judgment was entered accordingly on

November 24, 2014.    Id.

     On December 2, 2014, plaintiffs moved for reconsideration of

the decision to dismiss all claims against Dr. Fuentes.         (Docket

No. 19.)   Plaintiffs argued that because MMC is not covered by the

FSHCAA, the FTCA applies to neither MMC nor Dr. Fuentes’s actions

while at that facility.      Id. at p. 2.   On December 3, 2014, the

Court granted the reconsideration, dismissing with prejudice the

claims against Dr. Fuentes for the medical services he performed at

CHC and dismissing without prejudice the claims against Dr. Fuentes

for the medical services he performed at MMC.       (Docket No. 20.)
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     On December 4, 2014, defendants moved for reconsideration of

the dismissal without prejudice of the claims against Dr. Fuentes

for the services he performed at MMC.       (Docket No. 21.)     Before

considering this motion, however, the Court issued an amended

judgment that dismissed these claims against Dr. Fuentes without

prejudice on December 12, 2014.      (Docket No. 22.)       Defendants’

motion for reconsideration, (Docket No. 21), is thus still pending.

     On January 9, 2015, defendants filed a motion to alter the

amended   judgment,   requesting   again   that   all   claims   against

Dr. Fuentes dismissed with prejudice. (Docket No. 23.) Plaintiffs

filed an opposition January 16, 2015, (Docket No. 24), to which

defendants replied on February 6, 2015, (Docket No. 27).

                              STANDARD

     Pursuant to Federal Rule of Civil Procedure 59(e), a party may

move to alter or amend a judgment.    Fed. R. Civ. P. 59(e).       These

motions are appropriate in a limited number of circumstances, such

as where there is newly discovered evidence, or where the movant

can demonstrate that the “court committed a manifest error of law.”

Calderon-Serra v. Wilmington Trust Co., 715 F. 3d 14, 20 (1st Cir.

2013); accord Biltcliffe v. CitiMortgage, Inc., 772 F.3d 925, 930

(1st Cir. 2014).   The reviewing court has considerable discretion

in deciding whether to grant the motion.          Venegas-Hernandez v.

Sonolux Records, 370 F.3d 183, 190 (1st Cir. 2004).
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                                   DISCUSSION

      The Federal Employees Liability Reform and Tort Compensation

Act of 1988, commonly known as the “Westfall Act,” is an amendment

to the FTCA that grants federal employees absolute immunity from

common-law tort claims arising out of acts they undertake in the

course of their official duties.          United States v. Smith, 499 U.S.

160, 163 (1991); see 28 U.S.C. § 2679.           When a federal employee is

sued for wrongful or negligent conduct, the Westfall Act empowers

the Attorney General or her designee to certify that the employee

“was acting within the scope of” his or her employment at the time

of the disputed incident.              28 U.S.C. § 2679(d).              Upon this

certification, the employee is dismissed from the action, and the

United States is substituted as the defendant.                     Id.     Actions

commenced in state court are to be removed to federal district

court, and the certification conclusively establishes the scope of

employment for removal purposes. Id. at § 2679(d)(2). Thereafter,

the     FTCA    provides    the    exclusive     remedy.       Velez-Diaz         v.

Vega-Irizarry, 421 F.3d 71, 76 (1st Cir. 2005).

      The      FSHCAA   expanded   the   federal      government’s       waiver   of

sovereign immunity pursuant to the FTCA.               Ismie Mut. Ins. Co. v.

U.S. Dep’t. of Health & Human Servs., 413 F. Supp. 2d 954, 955

(N.D.    Ill.    2006).     Although     the   FTCA    generally    covers    only

“employees of the federal government,” the FSHCAA provides that

“federally supported health centers, their employees, and certain
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contractors      are     deemed    to    be     employees    of the     Public Health

Service” for purposes of medical malpractice suits.                         Id. at 955-56

(citing 42 U.S.C. § 233(g)(1)(A)).                     “Once a person is deemed an

employee of the [Public Health Service], the FTCA provides the

exclusive remedy for alleged malpractice.”                    Id. at 956 (citing 42

U.S.C. § 233(a)).

       Here,     the     United        States     has     provided     the       necessary

certification to invoke FTCA coverage.                   The United States Attorney

certified that Dr. Fuentes was acting within the scope of his

employment at CHC at the time of the conduct alleged in the

complaint.       See Docket No. 12-3.             Indeed, the parties agree that

CHC is a federally-funded health center and that the FTCA therefore

covers CHC as well as Dr. Fuentes’s conduct at that facility.                        See,

e.g., Docket No. 16.

       Plaintiffs contend, however, that the FTCA’s coverage does not

extend to all of the medical services that Dr. Fuentes provided to

Ms. Miranda during the events at issue.                    (Docket No. 19 at p. 2.)

Because MMC is not a federal health center, plaintiffs argue, the

FTCA    does     not     cover    the    labor     and     delivery     services     that

Dr.    Fuentes       rendered     at    that    facility.      Id.          In   response,

defendants assert that Dr. Fuentes prenatally treated Ms. Miranda

at    CHC,     but     because    CHC    was     not     equipped     for    deliveries,

Dr. Fuentes admitted Ms. Miranda to MMC, where he had admitting
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privileges, when she went into labor.     Id. at pp. 2-5.4   Defendants

thus argue that the treatment that Dr. Fuentes provided at MMC was

done so in his capacity as an employee of CHC.       Id. at p. 5.

     The issue before the Court is whether the FTCA covers a

federal-employee doctor’s services performed “outside the confines”

of the federally-funded health center. The Supreme Court has found

that Westfall Act certification, while determinative as to removal,

is “the first, but not the final word” on whether the federal actor

is immune from suit.      See Osborn v. Haley, 549 U.S. 225, 246

(2007). Beyond removal, the question of whether a federal employee

acted within the scope of his or her office or employment, pursuant

to the FTCA, “is to be determined by law of respondeat superior of

state in which incident occurred.” See Aversa v. United States, 99

F.3d 1200, 1208-09 (1st Cir. 1996); accord Lacey-Echols ex rel.

Lacey v. Murphy, Civ. No. 02-2281 (WGB), 2003 WL 23571269, at *7

(D.N.J. Dec. 17, 2003) (“[T]he state law of respondeat superior

applies to the scope of employment issue.”).      In Puerto Rico, the

doctrine of respondeat superior considers:         (a) the employee’s

“[d]esire to serve, benefit, or further his employer’s business or

interest”; (b) where the act is “reasonably related to the scope of


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  Defendants also indicate that as part of its grant application to HHS,
CHC applied for and was granted coverage extending to medical rounds and
admitting patients at MMC. (Docket No. 23-1 at p. 2.) Defendants submit
that this type of arrangement is “especially common in the area of
obstetrics,” because federally-funded health centers are typically not
“equipped for deliveries, emergent care, surgical procedures and
neo-natal care.” Id.
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the employment”; and (c) whether the employee was “prompted by

purely personal motives.”         See Vernet v. Serrano-Torres, 566 F.3d

254, 261 (1st Cir. 2009); Borrego v. United States, 790 F.2d 5, 7

(1st Cir. 1986).

       Considering these factors, the Court finds that Dr. Fuentes

was acting in the scope of his employment with CHC when he

delivered Ms. Miranda’s infant at MMC.              According to defendants,

during the events in question, Dr. Fuentes was an employee of CHC

and “was not employed by any other public or private medical

facility.”     See Docket No. 23-1 at pp. 3-4, 6; see also Docket

No. 23-4.     Defendants submit that Dr. Fuentes provided prenatal

care to Ms. Miranda at CHC from September 2009 until April 2010,

when    Dr.   Fuentes     rendered   labor    and    delivery    services   to

Ms. Miranda at MMC.       See Docket No. 23-4 at p. 1.       Defendants also

indicate that CHC’s federal grant coverage specifically extends to

certain services performed at MMC, and that such an arrangement is

common for health centers like CHC, which are not equipped to

handle non-routine activities, such as deliveries and emergent

care.    (Docket No. 23-1 at p. 2.)          Finally, defendants aver that

Dr. Fuentes received compensation directly from CHC.                  (Docket

No. 23-1 at p. 6.)          Defendants admit that Dr. Fuentes billed

privately     for   the   labor    and   delivery     services   rendered   to

Ms. Miranda at MMC, but maintain that he did so in compliance with

the FTCA, (Docket No. 23-4 at p. 1).
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     Taken together, these facts indicate that Dr. Fuentes was

serving CHC     when      he provided       labor   and     delivery    services    to

Ms. Miranda at MMC, that those services were directly related to

his employment as an obstetrician at CHC, and that his actions were

in no way prompted by personal motives. Accord Delgado v. Our Lady

of Mercy Med. Ctr., Civ. No. 06-5261 (BSJ), 2007 WL 2994446, at *3

(S.D.N.Y. Oct. 12, 2007) (finding FTCA-covered doctor was acting in

the course of his employment with FTCA-covered health center when

he performed surgery at non-covered hospital where health center

lacked the resources for the surgery and doctor was not compensated

for the treatment apart from his regular compensation).                     Indeed,

plaintiffs    do    not    argue    otherwise,        but   instead     insist    that

Dr. Fuentes was obligated to “report and transfer directly to [CHC]

all funds received” for the services provided at MMC “within a

reasonable period of time.”             (Docket No. 24 at pp. 1-2.)

     In relevant part, the Federal Tort Claims Policy Manual (“FTCA

Manual”) permits covered entity providers to bill directly for

services provided to covered entity patients for off-site services

and provides guidelines applicable to certain alternate billing

arrangements.       See Docket No. 23-6 at p. 14.               In the case of an

FTCA-covered employee who “bills for a service delivered at a

location not       identified      as   a   covered    entity    site    within    its

approved Federal section 330 scope of project,” the FTCA Manual

informs that coverage will apply if certain conditions are met,
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including the reporting and fund transfer requirements cited by

plaintiffs.    See id.    These requirements, however, apply only when

the services are provided at “a location not identified as a

covered entity site within its approved Federal section 330 scope

of project.”    See id.    (emphasis added).   It is undisputed that CHC

applied for and was granted coverage extending to medical rounds

and admitting patients at MMC.      See Docket No. 23-1 at p. 2; Docket

No. 23-2 at p. 22.        The FTCA Manual provides that FTCA coverage

extends to “the performance of medical, surgical, dental, or

related functions within the scope of the approved Federal section

330 grant project,” which includes “sites, services, and other

activities or locations, as defined in the covered entity’s grant

application.”    (Docket No. 23-6 at p. 9.)

     In light of the foregoing, the Court finds that Dr. Fuentes

was acting within the scope of his deemed federal employment when

he treated Ms. Miranda at MMC when the events at issue occurred.

The United States Attorney’s scope-of-employment certification,

therefore, does not exclude Dr. Fuentes as the provider of these

services.   See Docket No. 12-3.      Accordingly, the FTCA covers the

claims against Dr. Fuentes.

                                CONCLUSION

     Having admittedly failed to exhaust administrative remedies,

as required by the FTCA, plaintiffs moved for voluntary dismissal

of the claims against CHC and Dr. Fuentes.       See Docket No. 16.   The
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Court granted plaintiffs’ motion, dismissing with prejudice all

claims against Dr. Fuentes and CHC.          (Docket No. 18.)     The Court

permitted plaintiffs to bifurcate the claims against Dr. Fuentes

for the services provided, see Docket No. 20, but did so in error.

As explained above, Dr. Fuentes was a federal employee during the

events   giving   rise   to    the   complaint,      including   the    events

surrounding the birth of Ms. Miranda’s infant at MMC.             This being

the case, dismissal with prejudice was warranted for all of the

claims against Dr. Fuentes.

     For these reasons, defendants’ motion to alter the amended

judgment,   (Docket   No.     23),   is   GRANTED.     The   claims    against

Dr. Fuentes are, therefore, DISMISSED WITH PREJUDICE.

     Judgment shall be entered accordingly.

     In light of the Court’s ruling, defendants’ initial motion for

reconsideration, (Docket No. 21), is DISMISSED AS MOOT.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, September 25, 2015.


                                           s/ Francisco A. Besosa
                                           FRANCISCO A. BESOSA
                                           UNITED STATES DISTRICT JUDGE
